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AO 91 (Rev, 11/11} Criminal Complaint

UNITED STATES DISTRICT COURT

 

 

 

 

 

 

 

 

for the ORIGINAL FILED
District of New Jersey
NOV 12 2019
United States of America )
v. )
WILLIAM fT. WALSH, CLERK
Richard Tobin J CaseNo, L
) 19-mj-5644 (KMW)
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of _ 9/15/19 through on/about 9/23/19 in the county of Camden inthe
District of New Jersey , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. Section 241 See Attachment A

This criminal complaint is based on these facts:

See Attachment B.

if Continued on the attached sheet.

Z Complainant's signature

S/A Jason DB. Novick, FBI

Printed name and title

 

Sworn to before me and signed in my presence.

 

nae: Miers pi eet os
ee Judge's signature | U4

\ aa yarn

City and state: Camden, New Jersey The Honorabie Karen M. Williams ae

 

Printed name and litle»

 

 

 
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CONTENTS APPROVED
UNITED STATES ATTORNEY

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KRISTEN M. HARBERG, AUS

Date: i (2 4

 

 
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ATTACHMENT A

From on or about September 15, 2019 through on or about September 23, 2019, in Camden
County, in the District of New Jersey and elsewhere, defendant

RICHARD TOBIN

and other known and unknown individuals did conspire to injure, oppress, threaten, and intimidate
minority citizens, including Jewish citizens, of the United States, in the free exercise and
enjoyment of the right secured by the Constitution and laws of the United States, to hold and use
real and personal property in the same manner as that right is enjoyed by white citizens, as
guaranteed by Title 42, United States Code, Section 1982.

In violation of Title 18, United States Code, Section 241.
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ATTACHMENT B

I, Jason Novick, am a Special Agent with the Federal Bureau of Investigation (“FBI”) and
have been since January 2018. I am assigned to the Joint Terrorism Task Force of the FBI’s South
Jersey Resident Agency. My experience as an FBI Special Agent has included the investigation
of cases involving conspiracy to commit violations of fraud and threats to U.S. national security.
Prior to joining the FBI, I was employed as an intelligence analyst by the U.S. Department of
Defense. I have received training and have gained experience in interview and interrogation
techniques, arrest procedures, search warrant applications, the execution of arrest and search
watrants, evidence seizure and processing, and various other criminal laws and procedures. I have
knowledge of the following facts based upon both my investigation and discussions with other law
enforcement personnel and others. Because this affidavit is being submitted for the sole purpose
of establishing probable cause to support the issuance of a complaint, [ have not included each and
every fact known to the Government concerning this matter. Where statements of others are set
forth herein, these statements are related in substance and in part. Where I assert that an event
took place on a particular date, I am asserting that it took place on or about the date alleged.

1. At all times relevant to this Complaint, a synagogue in Michigan (“Victim
Synagogue 1”), and a synagogue in Wisconsin (“Victim Synagogue 2”) were organizations
comprised of Jewish members who worshiped and conducted other religious activities therein.

At all times relevant to this Complaint, defendant Richard Tobin (“TOBIN”) was a member of a
white racially motivated violent extremist group (“Group 1”). Group | has proclaimed war
against minority communities within the United States and abroad. Members of Group | believe

in an extreme form of survivalism and preparedness, and adherents of that philosophy are

 

 
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sometimes referred to as “preppers.”! TOBIN and other members of Group 1 communicate with
each other through online platforms and encrypted online messaging applications and chat
rooms, and they have discussed, among other things, the recruitment of prospective members,
the creation of a white ethno-state, acts of violence against minorities Gncluding African-
Americans and Jewish-Americans), Group 1’s military training camps, and ways to make
improvised explosive devices (“IEDs”). ‘The symbol used to identify Group | is a black flag
with three white Runic Kihwaz” symbols, Group 1 has an online presence that gives context to
its purpose and main goal. By way of example, on or about April 23, 2019, Group | posted the

following message, followed by an image of three white Runic Eihwaz symbols, online:

 

! Based on my training and experience, I am aware that a “preppei” is a person who stockpiles basic necessities
such as water, food, clothing, and first aid supplies, and who participates in survivalism training, including training
with firearms, knives, and other weapons, and practicing hand-fo-hand combat and other physical training.
“Preppers” believe that “doomsday,” “the apocalypse,” or some other catastrophic event or set of events will cause
the downfall of society in its current political and economic form,

2 Through my training and experience, and knowledge of this investigation, | know that the Eihwaz rune was
adopted by Nazis after 1923 to memorialize members who died in Hitler’s failed Beer Hall Putsch.

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Based on my training, experience, and involvement in this investigation, it is my understanding

that Group 1, which is a self-described “White Protection League,” is offering “IRL” (in real

 

life) survivalist training to resist “our People’s extinction,” or the extinction of the white race, I

 

also understand that Group 1 is offering its members “communal bugout locations,” which are
places of retreat during military strife, to survivalists comunitted to resisting the alleged

extinction of the white race.

 
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2, Based on information that I have received in the course of this investigation, from
on or about September 15, 2019, through on or about September 17, 2019, while TOBIN was
present at his home in Brooklawn, New Jersey, TOBIN communicated with other known and
unknown members of Group | and directed them to vandalize minority owned properties
between the dates of September 20 and 25, 2019.

3, _On September 21, 2019, law enforcement officers in Michigan discovered that
Victim Synagogue i had been vandalized. Specifically, they saw swastikas and the symbol of
Group | spray-painted on the exterior of the building.

4, On September 22, 2019, law enforcement officers in Wisconsin discovered that
Victim Synagogue 2 had been vandalized. Specifically, they saw swastikas, the symbol of
Group 1, and anti-Semitic words spray-painted on the exterior of the building.

5. On October 30, 2019, I interviewed TOBIN and took a video-recorded statement
from him. Among other things, TOBIN admitted that he was responsible for directing other
members of Group 1 to vandalize minority-owned properties throughout the country in
September 2019, TOBIN stated that he had launched “Operation Kristalinacht’? with other
members of Group | to “tag the shit” out of synagogues, Based on my training and experience
and familiarity with this investigation, I believe that TOBIN meant that synagogues should be
spray-painted with anti-Semitic graffiti. TOBIN elaborated, “if there’s a window that wants to
be broken, don’t be shy.” Based on my training and experience and familiarity with this

investigation, I believe that TOBIN meant that windows of minority-owned properties deserved

 

4 Kristallnacht, or the Night of Broken Glass, occurred in Nazi Germany on November 9 and 10, 1938. During this
time, Jewish homes, hospitals, and schools throughout Germany were ransacked and demolished by Nazi
paramilitary soldiers and civilians. The name “Iristalinacht” comes from the shards of broken glass that littered the
streets after the windows of Jewish-owned stores, buildings, and synagogues were smashed.
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to be broken, and that members of Group | should do so. TOBIN said that the operation was
nationwide, but had been carried out by the “Great Lakes cell” of Group 1. Specifically, TOBIN
stated that a named member of Group 1 (CO-CONSPIRATOR-1) had “hit” a synagogue in

| Wisconsin, and that a named member of Group 1 (CO-CONSPIRATOR-2) had “hit” a
synagogue in Minnesota,*

6. Also during my interview with TOBIN on October 30, 2019, TOBIN stated that
he had considered conducting “suicide-by-cop” on numerous occasions, and he believed that
carrying out a suicide bombing would be “pretty badass.” TOBIN also stated that he had saved
manuals regarding how the detonation would work for the bombing, and he believed that it
would be “preity straightforward” to fill the back of a truck with barrels like Timothy McVeigh
did.”

7. TOBIN was subsequently interviewed by FBI Special Agents and Task Force
Officers on October 31, 2019. During that interview, TOBIN stated that he experienced
depressed feelings for the last three years, and had thoughts of suicide by cop or becoming a
suicide bomber regularly. TOBIN said that he was triggered by the state of the country, such as
when he saw a “pride parade” or a large number of African Americans in one location. For
example, simply being in Times Square in New York caused TOBIN to have these feelings.
TOBIN stated that there was a time when he was at a mall in Edison, New Jersey, and there were

so many African Americans around that it “enraged” him. That day, he had a machete in his car
y .

 

4 While TOBIN stated one of the vandalized synagogues was in Minnesota, the investigation revealed and has
confirmed the vandalism occurred in Michigan.

5 Timothy McVeigh was tried, convicted, and ultimately executed for detonating a truck bomb at the Alfred P.
Murrah Federal Building in Oklahoma City on April 19, 1995. The bombing killed at least 168 people and is
considered the most deadly domestic terrorist attack in U.S. history.

 

 
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and he wanted to “let loose” with it. TOBIN stated that he would act on his feelings if he was
more frequently surrounded by the things that triggered him. TOBIN said that if he were to
suffer from a terminal illness or if his “failure was imminent,” he would go out in a “blaze of
glory.” At the time of this interview, TOBIN stated he was in his more violent phase.

8. On October 17, 2019, the FBI obtained a search warrant for historical and
prospective cell site data of TOBIN’s cellular telephone. The warrant was issued by the
Honorable Stewart D, Aaron, United States Magistrate Judge in the Southern District of New
York, The cell site data from this search warrant reflected that TOBIN was located in
Brooklawn, New Jersey, between September 15 and September 23, 2019.

9, On November 7, 2019, the FBI obtained a search warrant for TOBIN’s residence
in Brooklawn, New Jersey. The warrant was issued by the Honorable Karen M. Williams,
United States Magistrate Judge in the District of New Jersey. The search warrant was executed
on November 8, 2019. A computer, gaming system, and electronic storage media from TOBIN’s
room, among other things, were seized. FBI forensic examiners extracted data from TOBIN’s
computer, and that data has been analyzed for evidence of the specified federal offense. The
following evidence was found:

a. On September 17, 2019, TOBIN conducted multiple Google searches for
“Kristallnacht.” Also on September 17, 2019, TOBIN used an internet browser to
access an encrypted messaging program, The symbol of Group | was listed in the
name of the website, Based on my training and experience and involvement in this
investigation, I believe TOBIN was using the internet browser to exchange
messages with other members of Group 1 using the encrypted messaging program.

b. On September 23, 2019, TOBIN used an internet browser to access an encrypted

 

 

 
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messaging program, The name of CO-CONSPIRATOR-~1 was listed in the name
of the website. Based on my training and experience and my involvement in this
investigation, I believe that TOBIN was using the internet browser to exchange
messages with CO-CONSPIRATOR-1,

Immediately following the aforementioned activity, TOBIN visited a website and
accessed a news article regarding the anti-Semitic vandalism incident at Victim
Synagogue 2. Based on my training and experience and the short time that had
elapsed between this internet search and the online communication with CO-
CONSPIRATOR 1, I believe that CO-CONSPIRATOR-1 sent TOBIN a link fo the
news article that he viewed.

. Also on September 23, 2019, TOBIN conducted Googie searches for the name of
the city in Wisconsin where Victim Synagogue 2 was located, along with the words

7 4G

“nazi,” “anti-semitic,” and Group 1,

Also on September 23, 2019, TOBIN used an internet browser to access an
encrypted messaging program. CO-CONSPIRATOR-2 was listed in the name of
the website. Based on my training and experience, I believe TOBIN was using the
internet browser to exchange messages with CO-CONSPIRATOR-2,

Immediately following the aforementioned activity, TOBIN visited a website and
accessed a news article about the anti-Semitic vandalism at Victim Synagogue |.
Based on my training and experience and the short time that had elapsed between
this internet search and the online communication with CO-CONSPIRATOR 2, I

believe CO-CONSPIRATOR-2 sent TOBIN a link to the news article he viewed.

On October 31, 2019, TOBIN visited another website and viewed another article

 
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10.

which reported on the anti-Semitic vandalism to Victim Synagogue 1,

The FBI’s review of TOBIN’s computer also revealed numerous photos, videos,

and internet activity which reflect an obsession with neo-Nazi propaganda, terrorism, and acts of

brutal and mass violence. For example, TOBIN's computer contained the following:

a.

h.

The video of an individual using a shotgun and an assault rifle to shoot unarmed
people at a mosque. The video was created on March 15, 2019. The video was set
to the song “Another One Bites the Dust.”

A photo of a woman covered in blood whose throat had been slashed. The woman
appears in the photo to be dead, and a knife can be seen next to the wound on her
throat.

Numerous Google searches for ISIS, Hizballah, and other terrorist organizations.
A document detailing how to make plastic explosives.

A document detailing how to arrange barrels inside a Ryder truck to be used as a
truck bomb.

A Google search for “svbied.” Based on my training and experience, I know this
to be an acronym commonly used in the military and law enforcement communities
to refer to “suicide vehicle-borne improvised explosive device.”

Numerous photos of various types of assault rifles, machine guns, shotguns, and
other firearms,

Numerous neo-Nazi and white supremacist propaganda phofos depicting or

describing acts of violence against Jews, African Americans, and other minorities.

 

® On March 15, 2019, 28-year-old Brenton Tarrant, described in the media as a white supremacist, is believed to
have carried out the attack on two mosques in Christchurch, New Zealand, in which 51 people were killed and 49

injured.

 

 

 

 
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11, In light of all of the foregoing, probable cause exists to believe that the crime of
conspiracy against rights has been committed, and that TOBIN is the person who committed that

crime,

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